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From:             Habibi, Paliman on behalf of Vieira Ayala, Ana
To:               "agency_req_rep@oag.texas.gov"
Cc:               kimberly.gdula@oag.texas.gov; ryan.kercher@oag.texas.gov; English, Tamra; Vieira Ayala, Ana; Habibi, Paliman
Subject:          Request for Representation - Stewart, et al v. Texas Tech University Health Sciences Center, et al
Date:             Thursday, January 12, 2023 9:38:07 AM
Attachments:      1-COMPLAINT-1.10.2023.pdf
Importance:       High



                         THE UNIVERSITY OF TEXAS SYSTEM
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                                                                                                           Ana Vieira Ayala
                                                                                                     Associate General Counsel

VIA ELECTRONIC MAIL
Agency_req_rep@oag.texas.gov

January 12, 2023

Mr. Shawn Cowles
Deputy Attorney General for Civil Litigation
Office of the Attorney General
PO BOX 12548
Austin, Texas 78701
      
Re: Case No. 5:23-cv-7; George Stewart, on behalf of himself and other similarly situated v. Texas
               Tech University Health Sciences Center; et al; In the United States District Court
               for the Northern District of Texas, Lubbock Division

Dear Mr. Cowles,
      
       UT System’s Office of General Counsel respectfully requests representation of five
UT institutions (UT Austin, UT Health Houston, UTMB, UTHSCSA, and UTSW) and their
respective presidents, medical school deans, admissions and DEI officials. We have
discussed this matter with GLD and the complaint is attached.

        Sincerely,

        Ana Vieira Ayala

ACVA:ph

Attachment

CC:      Kimberly Gdula
            Ryan Kercher
            Tamra J. English
           



                                                    EXHIBIT A
